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                           UNITED STATES DISTRICT COURT
                                     FOR THE
                              DISTRICT OF CALIFORNIA

                                                )
   JAMIL LITTLEJOHN,                            )
                                                ) Case No.: 2:15-cv-09456
             Plaintiff,                         )
             v.                                 )
                                                )
   CONSERVE, INC.,
                                                )
                                                )
                 Defendant.                     )
                                                )

                        NOTICE OF VOLUNTARY DISMISSAL


   TO THE CLERK:

          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

   dismisses the Complaint with prejudice.




   Dated: March 21, 2016                      BY: /s/ Amy L. Bennecoff Ginsburg
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                                              Attorney for Plaintiff
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                               CERTIFICATE OF SERVICE

          I hereby certify that on this 21st day of March, 2016, a true and correct copy of the

   foregoing pleading served via mail to the below:


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   Fairport, NY 14450
   Phone: (585) 421-1000
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                                                 /s/Craig Thor Kimmel
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                                                 Attorney for Plaintiff
